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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

  LEAGUE OF WOMEN VOTERS              )
  OF MICHIGAN, et al.,                )
                                      )
         Plaintiffs,                  )
                                      )
  v.                                  )             No. 2:17-cv-14148
                                      )
  JOCELYN BENSON, in her official     )
  capacity as Michigan Secretary of   )
  State, et al.,                      )
                                      )
         Defendants.                  )
  ____________________________________)

   ORDER DENYING JOINT MOTION TO APPROVE CONSENT DECREE
                        (ECF No. 211)

        Before the Court is the Joint Motion to Approve Consent Decree (“Motion”)

  filed by Plaintiffs and Defendant Secretary of State Jocelyn Benson (ECF No.

  211). For the reasons stated below, the Court DENIES the Motion.

        The terms of the Proposed Consent Decree are as follows. (See Proposed

  Consent Decree, ECF No. 211-1). Eleven Michigan House Districts (the “Enjoined

  Districts”) would be declared unconstitutional for violating the First and

  Fourteenth Amendments. Plaintiffs would dismiss their challenges to the Michigan

  Senate Districts, the U.S. Congressional Districts, and the other Michigan House

  Districts at issue in this litigation. The Enjoined Districts would not be used in


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  future elections. The Michigan Legislature would be given the opportunity to

  submit remedial maps for the Enjoined Districts, subject to approval of this Court.

  The parties, and any interested persons, would be permitted to submit briefs

  advising the Court (1) whether the proposed remedial districts comply with the

  First and Fourteenth Amendments and/or (2) “whether there exist remedial

  alternative district(s) the Court should adopt if the Legislature’s proposed remedial

  districts were determined by the Court to be unconstitutional or if the Legislature

  were to fail to submit redrawn districts” by the deadline to do so. (Id. at PageID

  #7895.) Plaintiffs and Benson ask this Court to stay trial and hold a Fairness

  Hearing regarding the Proposed Consent Decree.

        The Michigan Republican Congressional Delegation (“Congressional

  Intervenors”) and two individual Republican State Representatives, Lee Chatfield

  and Adam Miller (“Michigan House Intervenors”), oppose the Motion. (See ECF

  No. 231.) They assert, among other arguments, that Benson lacks the authority to

  enter into the Proposed Consent Decree absent the Michigan Legislature’s

  approval.

        Plaintiffs and Benson rely on the Supreme Court’s decision in Lawyer v.

  Dep’t of Justice, 521 U.S. 567 (1997) to support their argument that Benson has

  the authority to enter into the Proposed Consent Decree. In Lawyer, six residents

  challenged their legislative district under the Equal Protection Clause, naming the


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  State of Florida, the Florida Attorney General, and the United States Department of

  Justice as defendants. Id. at 569–71. After a settlement conference, the parties

  proposed a consent decree. The consent decree did not admit that the challenged

  district was unconstitutional; rather, it acknowledged that the plaintiffs’ claim was

  supported by reasonable factual and legal bases. Id. at 572. The proposed consent

  decree replaced the contested district with a remedial district that complied with

  constitutional requirements. Id. Prior to entering the proposed consent decree, the

  district court “sought and received specific assurances from lawyers for the

  President of the [Florida] Senate and the Speaker of the [Florida] House that they

  were authorized to represent their respective government bodies in the litigation

  and enter into the settlement proposed.” Id. at 573. The district court approved the

  consent decree over the objection of an individual plaintiff who argued that the

  district court could not enact a remedial district plan without first explicitly finding

  that the current district was unconstitutional. Id. at 579.

        The Supreme Court affirmed the district court’s decision to enter the consent

  decree. The Supreme Court emphasized the importance of the fact that the Florida

  Senate and Florida House agreed to the terms of the consent decree, explaining that

  while “[a] State should be given the opportunity to make its own redistricting

  decisions so long as that is practically possible and the State chooses to take the

  opportunity[,]” the fact that counsel for “each legislative chamber” agreed to the


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  settlement “confirmed both the continuing refusal of the legislature to address the

  issue in formal session and the authority of the attorney general to propose the

  settlement plan on the State’s behalf.” Id. at 576–78. The Supreme Court held that

  the district court properly entered the consent decree over the objections of the

  plaintiff because the settlement gave the objecting plaintiff the very relief he had

  originally requested—it invalidated the challenged district and replaced it with a

  map that complied with the Constitution. Id. at 579. The Supreme Court explained

  that “[t]o afford [the objecting plaintiff] a right to the formality of a decree in

  addition to the substance of the relief sought would be to allow a sore winner to

  obscure the point of the suit.” Id.

        Plaintiffs and Benson argue that Lawyer empowers the Court to enter the

  Proposed Consent Decree that invalidates the Enjoined Districts over the

  Intervenors’ objections. But Lawyer does not stand for such a broad proposition. In

  fact, Lawyer’s holding is much narrower than Plaintiffs and Benson contend. In

  Lawyer, the Florida Senate and the Florida House explicitly consented to the relief

  contained in the consent decree. The Supreme Court emphasized the vital

  importance of the Florida legislature’s support of the consent decree in its decision;

  it considered the legislature’s approval of the consent decree as an

  acknowledgement by the legislature that it wanted the federal court, not the

  legislature, to remedy the challenged district. Id. at 577–78. But in the instant case,


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  the Intervenors oppose the Proposed Consent Decree, as does the Michigan Senate,

  which filed a motion to intervene in this case. 1 Accordingly, Lawyer is inapposite.

        Lawyer does not apply to the instant case for another reason. The objecting

  party in Lawyer was a “sore winner,” a plaintiff who, unsatisfied with the court’s

  simply invalidating the challenged district and replacing it with a remedial one,

  also sought an explicit judicial finding that the original district violated the

  Constitution. Id. But the Intervenors in the instant case are not “sore winners”—

  they oppose the Proposed Consent Decree because they believe it undermines their

  interests in maintaining the current maps and their legal theory that the existing

  maps satisfy all constitutional requirements. Because the Intervenors would not

  receive “the substance of the relief sought” if the Court were to enter the Proposed

  Consent Decree, Lawyer does not apply.

        Plaintiffs’ and Benson’s argument is further undermined by Fouts v. Harris,

  88 F. Supp. 2d 1354 (S.D. Fla. 1999), aff’d sub nom. Chandler v. Harris, 529 U.S.

  1084 (2000). In Harris, a three-judge panel denied plaintiffs’ motion to enter a

  consent decree that would have invalidated a United States Congressional district

  because “numerous dissenting parties[,]” including the governor, the speaker of the

  house, and the secretary of state objected to the proposed agreement. Id. at 1353.

  The Harris court rejected the plaintiffs’ argument that Lawyer allowed the court to


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            The Court addresses the Michigan Senate’s motion to intervene in a separate order.

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  enter the proposed settlement agreement over the defendants’ objections, and

  interpreted Lawyer as standing for the narrow proposition that “parties can agree to

  settle and dispose of a dissenting party’s claim when, through the settlement, the

  dissenting party achieves the essential goals of his suit.” Id. (citing Lawyer, 521

  U.S. at 579–80). The court explained that Lawyer holds that “a ‘sore winner’

  looking only for the additional satisfaction of a judgment will not be permitted to

  block a settlement.” Id. (quoting Lawyer, 521 U.S. at 579–80). The Harris court

  further stated that, “[i]mportantly, in describing the propriety of overriding the

  dissenting party’s desire not to settle, the Court was careful to confirm that it

  would be ‘forbidden’ to settle a redistricting claim over the objections of a party

  who was not obtaining his requested relief.” Id. (quoting Lawyer, 521 U.S. at 579).

  Accordingly, Harris supports the Intervenors’ argument that the Court cannot enter

  the Proposed Consent Decree. Like the dissenting parties in Harris, whose

  objections precluded the court from entering the consent decree proposed in that

  case, the Intervenors would not obtain their requested relief if the Court entered the

  Proposed Consent Decree offered by Plaintiffs and Benson.

        Finally, contrary to her contention, Benson lacks the authority to enter into

  the Proposed Consent Decree on behalf of the State of Michigan. Plaintiffs and

  Benson rely extensively on In re Certified Question from U.S. Dist. Court for E.

  Dist. of Michigan, 465 Mich. 537 (2002), where the Michigan Supreme Court held


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  that “the Attorney General has broad authority to sue and settle with regard to

  matters of state interest, including the power to settle such litigation with binding

  effect on Michigan’s political subdivisions.” Id. at 547. But the Proposed Consent

  Decree would not have a binding effect on a political subdivision—it would

  invalidate maps approved and enacted by the Michigan Legislature. And the

  Michigan Constitution gives the Michigan Legislature, not any political

  subdivision, authority to “enact laws to regulate the time, place and manner of all .

  . . elections.” MI CONST Art. 2, § 4. Accordingly, Benson lacks the authority—

  absent the express consent of the Michigan Legislature, which she lacks—to enter

  into the Proposed Consent Decree.

        Therefore, the Joint Motion to Approve Consent Decree (ECF No. 211) is

  DENIED. Because the Court finds that Benson lacks the authority to enter into the

  Proposed Consent Decree under these circumstances, the Court will not hold a

  Fairness Hearing to further consider the merits of the Proposed Consent Decree.

        IT IS SO ORDERED.

  Dated: February 1, 2019

                                  /s/ Eric L. Clay
                                  Signed for and on behalf of the panel:

                                  HONORABLE ERIC L. CLAY
                                  United States Circuit Judge

                                  HONORABLE DENISE PAGE HOOD
                                  United States District Judge

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                               HONORABLE GORDON J. QUIST
                               United States District Judge




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